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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  NORFOLK DIVISION

    INNOVATIVE COMMUNICATIONS                        )
    TECHNOLOGIES, INC.,                              )
                                                     )
                   Plaintiff,                        )
                                                     )
           vs.                                       )    C.A. No. 2:12-CV-9-RGD-TEM
                                                     )
    STALKER SOFTWARE, INC., d/b/a                    )
    COMMUNIGATE SYSTEMS, INC.                        )
                                                     )
                   Defendant.                        )

                                 STIPULATION OF DISMISSAL

           Plaintiff Innovative Communications Technologies, Inc. (“ICTI”) and Defendant

    Stalker Software, Inc., d/b/a CommuniGate Systems, Inc. (“Stalker”), have reached a

    settlement of the above-captioned matter and have agreed to dismiss the claims,

    counterclaims, and causes of action between them with prejudice. Accordingly,       pursuant

    to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), ICTI stipulates to the dismissal with

    prejudice of all claims and causes of action asserted in this case against defendant Stalker.

    The parties shall bear their own attorneys’ fees, expenses and costs.
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    Dated: December 21, 2012             Respectfully Submitted,

    INNOVATIVE COMMUNICATIONS            STALKER SOFTWARE, INC.
    TECHNOLOGIES, INC.

                      /s/                                 /s/
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    Counsel for Plaintiff Innovative
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                                   CERTIFICATE OF SERVICE

           I hereby certify that on the 21st day of December, 2012, I will electronically file the

    foregoing with the Clerk of Court using the CM/ECF system, which will then send a

    notification of such filing to the following counsel of record:

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